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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

J.D., by and through his parents and legal         :
guardians, ANDREZA LOPEZ DASILVA and               :
JOSE DASILVA                                       :
                                                   :
                Plaintiffs,                        :
                                                   :
       vs.                                         :           CIVIL ACTION
                                                   :           NO. 20-1395-ER
TEMPLE UNIVERSITY HOSPITAL, INC.,                  :
a/k/a d/b/a TEMPLE UNIVERSITY                      :
HOSPITAL; TEMPLE UNIVERSITY                        :
HEALTH SYSTEM, INC.; TEMPLE                        :
UNIVERSITY HOSPITAL DEPARTMENT                     :
OF OBSTETRICS, GYNECOLOGY;                         :
SAMANTHA JAGANNATHAN, M.D.;                        :
SARAH MARTIN, M.D.; AND MICAELA                    :
FERNANDES, R.N.                                    :
                                                   :
                Defendants,                        :
                                                   :
       vs.                                         :
                                                   :
CLINTON TURNER, M.D.                               :
                                                   :
                Cross-Claim Defendant.             :

                                             ORDER

       AND NOW, this ______ day of __________________, 2020, upon consideration of the

United States of America’s motion to dismiss certain defendants, substitute the United States of

America, stay this case, and extend the answer deadline, it is ORDERED as follows:

       1.       The motion is GRANTED;

       2.       Defendant Clinton Turner, M.D. is dismissed with prejudice;

       3.       The United States of America is substituted as a federal defendant in place of

cross-claim defendant Clinton Turner, M.D.;

       4.       This matter is stayed for two months until Plaintiffs have exhausted their

administrative remedies against the United States; and
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       5.      The United States’ deadline to respond to the cross-claim filed against it is

extended for two months until Plaintiffs have exhausted their administrative remedies.



                                             BY THE COURT:


                                             HONORABLE EDUARDO C. ROBRENO
                                             Judge, United States District Court
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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
J.D., by and through his parents and legal           :
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JOSE DASILVA                                         :
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                Plaintiffs,                          :
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       vs.                                           :        CIVIL ACTION
                                                     :        NO. 20-1395-ER
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HOSPITAL; TEMPLE UNIVERSITY                          :
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UNIVERSITY HOSPITAL DEPARTMENT                       :
OF OBSTETRICS, GYNECOLOGY;                           :
SAMANTHA JAGANNATHAN, M.D.;                          :
SARAH MARTIN, M.D.; AND MICAELA                      :
FERNANDES, R.N.                                      :
                                                     :
                Defendants,                          :
                                                     :
       vs.                                           :
                                                     :
CLINTON TURNER, M.D.                                 :
                                                     :
                Cross-Claim Defendant.               :

                      UNITED STATES OF AMERICA’S MOTION
                TO SUBSTITUTE, STAY, & EXTEND ANSWER DEADLINE

       The United States of America, on behalf of cross-claim defendant Clinton Turner, M.D.,

moves to:

       1.       Dismiss cross-claim defendant Clinton Turner, M.D., with prejudice;

       2.       Substitute the United States in place of cross-claim defendant Clinton Turner, M.D.

as the sole federal defendant;

       3.       Stay this case for two months until Plaintiffs have exhausted their administrative

remedies against the United States; and

       4.       Extend the United States’ answer deadline for two months until Plaintiffs have

exhausted their administrative remedies.


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       As fully addressed in the accompanying memorandum of law, as a deemed employee of

the United States Public Health Service, cross-claim defendant Clinton Turner, M.D. is an

improper defendant and the United States is the only permissible federal defendant. Further, this

action should be stayed to allow Plaintiffs to fully exhaust their administrative remedies against

the United States. A stay would best balance the interests of all parties and the Court by allowing

Plaintiffs to consolidate any claims they have against the United States with this action, should

Plaintiffs’ administrative claim be denied, and would allow all parties to litigate all claims in this

case according to the same schedule. Alternatively, an extension of the United States’ answer

deadline would ensure that this case be administered in the most efficient manner possible.

                                                        Respectfully submitted,

                                                        WILLIAM M. McSWAIN
                                                        United States Attorney


                                                        /s/ Susan R. Becker for___________
                                                        GREGORY B. DAVID
                                                        Assistant United States Attorney
                                                        Chief, Civil Division


                                                        /s/ Elizabeth L. Coyne____________
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                                                        ELIZABETH L. COYNE
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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA
J.D., by and through his parents and legal            :
guardians, ANDREZA LOPEZ DASILVA and                  :
JOSE DASILVA                                          :
                                                      :
                Plaintiffs,                           :
                                                      :
       vs.                                            :         CIVIL ACTION
                                                      :         NO. 20-1395-ER
TEMPLE UNIVERSITY HOSPITAL, INC.,                     :
a/k/a d/b/a TEMPLE UNIVERSITY                         :
HOSPITAL; TEMPLE UNIVERSITY                           :
HEALTH SYSTEM, INC.; TEMPLE                           :
UNIVERSITY HOSPITAL DEPARTMENT                        :
OF OBSTETRICS, GYNECOLOGY;                            :
SAMANTHA JAGANNATHAN, M.D.;                           :
SARAH MARTIN, M.D.; AND MICAELA                       :
FERNANDES, R.N.                                       :
                                                      :
                Defendants,                           :
                                                      :
       vs.                                            :
                                                      :
CLINTON TURNER, M.D.                                  :
                                                      :
                Cross-Claim Defendant.                :

     MEMORANDUM OF LAW IN SUPPORT OF UNITED STATES OF AMERICA’S
        MOTION TO SUBSTITUTE, STAY, & EXTEND ANSWER DEADLINE

       The United States of America, on behalf of cross-claim defendant Clinton Turner, M.D.

(“Dr. Turner”), moves to dismiss Dr. Turner as a party to this action, to substitute the United

States in his place, to stay this case until Plaintiffs have exhausted their administrative remedies

against the United States, and to extend the United States’ answer deadline.

I.     INTRODUCTION

       At the time of the alleged events at issue in this case, Dr. Turner was acting within the

scope of his employment with the U.S. Public Health Service. He was therefore deemed a federal

employee. Under federal law, the only negligence claim that can be brought against a deemed

federal employee is a suit against the United States under the Federal Tort Claims Act, 28 U.S.C.


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§§ 1346(b) and 2672 (the “FTCA”). Accordingly, Dr. Turner is an improper defendant and the

United States should be substituted for him.

        After properly substituting the United States for Dr. Turner under the FTCA, the Court

should stay this matter pending Plaintiffs’ exhaustion of their administrative remedies against the

United States. The FTCA requires that Plaintiffs first submit an administrative claim before the

matter may come before the district court. See 28 U.S.C. § 2675(a). In the present matter,

Plaintiffs filed an administrative claim with the U.S Department of Health and Human Services

(“HHS”) on November 13, 2019. If that claim is denied or not acted upon within six months,

Plaintiffs will presumably wish to assert their claims against the United States in federal court.

The interest of judicial economy and the balancing of harm to the parties weighs in favor of a

stay so that all the parties may assert all of their claims in a concerted fashion if the

administrative claim is denied or not acted upon by May 13, 2020. Likewise, the Court should

extend the United States’ answer deadline for two months 1 until Plaintiffs have exhausted their

administrative remedies.

II.     PROCEDURAL HISTORY

        This action is related to a previous action that was also removed to this Court. See Da

Silva v. Temple Univ. Hosp., Inc. et al., No. 2:19-cv-4111 (E.D. Pa.) (Robreno, J.). In the

previous action, Plaintiffs filed a substantially similar complaint against Temple University

Hospital, Inc., a/k/a d/b/a Temple University Hospital; Temple University Health System, Inc.;



1
        This time period assumes that Plaintiffs will file suit against the United States promptly
upon a denial of the administrative claim or a lapse of the six-month agency review period.
Plaintiffs may file claims against the United States in this Court once they have exhausted their
administrative remedies. While they may choose to await an agency decision past May 13, 2020,
and while they have six months to sue the United States following an adverse decision, see 28
U.S.C. § 2401(b), the stay need only cover the next two months if Plaintiffs wish to move
expeditiously before this Court.
                                                   2
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Temple University Hospital Department of Obstetrics, Gynecology; Samantha Jagannathan,

M.D.; Sarah Martin, M.D.; and Micaela Fernandes, R.N. (the “Temple Defendants”). Dr. Turner

was also named a defendant in the previous action, which claimed substantially the same injuries

as this current action. Because Dr. Turner was acting within the scope of his employment with

the U.S. Public Health Service at the time of the events alleged in the complaint, HHS deemed

him a federal employee. On this basis, the United States moved to substitute itself as a defendant

in the case and dismiss the case against Dr. Turner. Plaintiffs then moved to voluntarily dismiss

the action without prejudice so that they could pursue an administrative claim against the United

States, as mandated by the FTCA. The case was subsequently dismissed by an Order of this

Court entered October 25, 2019. See Order Granting Plaintiffs’ Motion for Voluntary Dismissal,

Da Silva v. Temple Univ. Hosp., Inc. et al., No. 2:19-cv-4111, ECF No. 5 (E.D. Pa. Oct. 25,

2019).

         Plaintiffs then filed an administrative claim with HHS on November 13, 2019. The claim

is still pending. Plaintiffs’ administrative remedies will not be considered exhausted until the

claim is adjudicated, or until six months have passed from the date of filing. See McNeil v.

United States, 508 U.S. 106, 113 (1993) (“The FTCA bars claimants from bringing suit in

federal court until they have exhausted their administrative remedies.”); see also 28 U.S.C.

§ 2675(a) (“The failure of an agency to make final disposition of a claim within six months after

it is filed shall, at the option of the claimant any time thereafter, be deemed a final denial of the

claim for purposes of this section.”). Plaintiffs will thus be considered to have exhausted their

administrative remedies on May 13, 2020.

         On December 18, 2019, while their administrative claim was pending, Plaintiffs again

filed suit against the Temple Defendants in the Court of Common Pleas of Philadelphia County.



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The complaint was substantially similar to the previous complaint, except that it did not name

Dr. Turner as a defendant. On January 17, 2020, the Temple Defendants filed a joinder

complaint adding Dr. Turner as an additional defendant and asserting that, if the Temple

Defendants are found liable for Plaintiffs’ alleged injuries, Dr. Turner is either solely liable to

Plaintiffs or jointly and/or severally liable with the Temple Defendants. The FTCA’s exhaustion

requirements do not apply to third party complaints, cross-claims, or counterclaims. See 28

U.S.C. § 2675(a).

       The United States removed the case to this Court on March 12, 2020, and marked it

related to the previous action. The Temple Defendants then filed their Answer on March 17,

2020, and included a cross-claim directed at Dr. Turner, which alleged that Dr. Turner was the

sole and proximate cause of any alleged injuries to Plaintiffs, and that Dr. Turner is either solely

liable to Plaintiffs, jointly and/or severally liable with the Temple Defendants, or liable to the

Temple Defendants for contribution and/or indemnity.

III.   STANDARD OF REVIEW

       Federal courts have limited jurisdiction, possessing only that power granted by the

Constitution or authorized by Congress. See generally Kokkomen v. Guardian Life Ins. Co. of

America, 511 U.S. 375, 377 (1994). A district court may hear a case only if it is authorized to do

so by a congressional grant of subject matter jurisdiction. See Ins. Corp. of Ireland v. Compagnie

des Bauxit de Guinee, 456 U.S. 694, 701 (1982). “The requirement that jurisdiction be

established as a threshold matter springs from the nature and limits of the judicial power of the

United States and is inflexible and without exception.” Steel Co. v. Citizens for a Better Env’t,

523 U.S. 83, 94–95 (1998) (internal citation and quotation omitted).




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          Further, the “United States, as sovereign, is immune from suit save as it consents to be

sued, and the terms of its consent to be sued in any court define that court’s jurisdiction to

entertain the suit.” United States v. Sherwood, 312 U.S. 584, 586 (1941) (internal citations

omitted). To sue the sovereign, Plaintiffs’ allegations must invoke a valid waiver of sovereign

immunity. F.D.I.C. v. Meyer, 510 U.S. 471, 475 (1994). Such statutory waivers are to be strictly

construed in favor of the sovereign. See Dept. of Army v. Blue Fox, Inc., 525 U.S. 255, 261

(1999).

          Where a party requests a stay, the moving party “must make out a clear case of hardship

or inequity in being required to go forward, if there is even a fair possibility that the stay for

which he prays will work damage to [someone] else.” Landis v. N. Am. Co., 299 US. 248, 255

(1936). “The power to stay is incidental to the power inherent in every court to dispose of cases

so as to promote their fair and efficient adjudication.” United States v. Breyer, 41 F.3d 884, 893

(3d Cir. 1994). “The party requesting a stay bears the burden of showing that the circumstances

justify an exercise of [the Court’s discretion to issue a stay].” Nken v. Holder, 556 U.S. 418,

433–34 (2009).

IV.       ARGUMENT

          A.      Dr. Turner must be dismissed as a defendant and the United States
                  substituted for him as the sole federal defendant.

          A claim against the United States under the FTCA is the exclusive remedy for any

personal injury resulting from a U.S. Public Health Service employee’s alleged negligence. 42

U.S.C. § 233(g). Under 42 U.S.C. § 233(a), part of the Federally Supported Health Centers

Assistance Act of 1992 and 1995, the remedy against the United States provided by the FTCA is

the exclusive remedy for damage for personal injury allegedly caused by the performance of

medical functions by deemed employees of the U.S. Public Health Service while acting within

                                                   5
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the scope of their employment. See 42 U.S.C. § 233(a); Hui v. Castaneda, 559 U.S. 799, 802

(2010). In other words, an FTCA claim is the exclusive remedy against Dr. Turner.

       Here, the Department of Health and Human Services has deemed Dr. Turner a federal

employee at the time of the incident giving rise to this suit. See 42 U.S.C. § 233(c); Ex. A

(Declaration of HHS Counsel) (affirming that Delaware Valley Community Health, Inc. was

properly deemed Public Health Service employee and that Dr. Turner was its employee at all

times relevant to the Complaint). HHS also affirmed that Dr. Turner was acting as a covered

person within the scope of his deemed employment of the Public Health Service. Id.

       Thus, as a deemed employee of the Public Health Service, Dr. Turner is not a proper

party to this suit, and this Court lacks subject matter jurisdiction to adjudicate the claims against

him. Accordingly the Court should dismiss Dr. Turner and substitute the United States in his

place. See, e.g., Hui, 559 U.S. at 806, 811 (proof of scope can be established by declaration

affirming that a defendant was a Public Health Service employee during relevant time period).

       B.      This Court should stay this matter and extend the United States’ answer
               deadline for two months until Plaintiffs have exhausted their administrative
               remedies against the United States.

       The Supreme Court has counseled that “the power to stay proceedings is incidental to the

power inherent in every court to control the disposition of the causes on its docket with economy

of time and effort for itself, for counsel, and for litigants. How this can best be done calls for the

exercise of judgment, which must weigh competing interests and maintain an even balance.”

Landis, 299 at 254–55. “Generally, in the exercise of its sound discretion, a court may hold one

lawsuit in abeyance to abide the outcome of another which may substantially affect it or be

dispositive on the issues.” Airgas, Inc. v. Cravath, Swaine & Moore LLP, No. CIV. A. 10-612,




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2010 WL 624955, at *2 (E.D. Pa. Feb 22, 2010) (Robreno, J.). 2 To determine whether a stay

should be granted, the Court may consider factors such as prejudice to the non-moving party, the

hardship or inequity to the movant if forced to proceed, and whether a stay “would further the

interest of judicial economy.” Id. at 3 (citing Landis, 299 U.S. at 254–55).

        Here, a stay of these proceedings would serve the interests of the parties and the Court

alike. The stay should extend for two months, when Plaintiffs will exhaust their administrative

remedies and will be able to bring any claims against the United States in federal court.3

Although Plaintiffs may face a brief delay in proceeding forward, a stay would allow them to

renew their claims against the United States and litigate those claims in a coordinated fashion

with the rest of this action if the administrative claim is denied or not acted upon within the six-

month period. This outcome would serve the Temple Defendants’ interests as well because it

would allow Plaintiffs to sue the United States directly, and allow all the parties to litigate all of

their claims at the same time. Even if the administrative claim is adjudicated in Plaintiffs’ favor,

the stay would serve the parties’ interest by ensuring that the remaining claims be litigated as

efficiently as possible in federal court.

        Absent a stay, however, the United States could be forced to spend great time and

expense defending this action in piecemeal fashion. The United States would be required to

respond to the cross-claim and begin litigating that case, while facing the real possibility that it




2
        These principles should apply with equal force here, where the United States requests a
stay pending the outcome of an administrative proceeding, rather than a separate civil action.
3
        Plaintiffs could potentially bring a federal lawsuit before May 13, 2020, if the
administrative claim is decided before that date. As described in footnote 1 above, Plaintiffs may
also decide to wait before bringing a lawsuit against the United States. Plaintiffs may choose to
await an agency decision past May 13, 2020, or they may wait six months to sue the United
States following an adverse decision. See 28 U.S.C. § 2401(b). The stay the United States seeks
need only cover the next two months if Plaintiffs wish to move expeditiously before this Court.
                                                   7
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will have to respond to similar claims all over again if Plaintiffs pursue their claims against the

United States at a later date. This posture would create unnecessary duplication at best, and

significant confusion at worst. The potential hardship to the United States is easily eradicated,

however, by the imposition of a stay until Plaintiffs exhaust their administrative remedies against

the United States, which could take place in as little as two months. 4

       Those same considerations weigh in favor of a stay for the sake of judicial economy.

Allowing this case to move forward now opens the door to fractured litigation if HHS denies

Plaintiffs’ administrative claims and Plaintiffs then seek to reassert their claims against the

United States in federal court. By implementing the requested stay, the Court will remove the

possibility of duplicative filings and inconsistent discovery and briefing schedules.

       The interests of judicial economy, combined with the balance of interests to the parties,

would therefore be well served by granting the United States’ requested stay. If the Court does

not wish to impose a stay over the entire case, then it should at least grant a two-month stay—or

otherwise an extension—as to the United States’ answer deadline until after Plaintiffs exhaust

their administrative remedies. 5

V.     CONCLUSION

       For the foregoing reasons, the United States respectfully asks that the Court dismiss

defendant Clinton Turner, M.D., substitute the United States for him as the sole federal




4
        Again, while Plaintiffs have some leeway in deciding when to bring any claims against
the United States, Plaintiffs will be able to file suit against the United States as early as May 13,
2020, or potentially earlier if HHS denies their claim before that date.
5
        To the extent the Court requires a responsive pleading at this time, the United States
denies the allegations in the cross-claim. The United States will file a formal answer to the cross-
claim forthwith if the Court so requires.
                                                  8
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defendant, and stay this case or otherwise extend the United States’ answer deadline for two

months until Plaintiffs exhaust their administrative remedies.



                                                      Respectfully submitted,

                                                      WILLIAM M. McSWAIN
                                                      United States Attorney


                                                      /s/ Susan R. Becker for___________
                                                      GREGORY B. DAVID
                                                      Assistant United States Attorney
                                                      Chief, Civil Division


                                                      /s/ Elizabeth L. Coyne____________
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                                CERTIFICATE OF SERVICE

       I certify that on this date, I filed the foregoing Motion with the Court and served a copy by

ECF upon the following:

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                                                  Hospital, Inc., a/k/a Temple University
                                                  Hospital; Temple University Health System,
                                                  Inc.; Temple University Hospital Department
                                                  of Obstetrics, Gynecology; Samantha
                                                  Jagannathan, M.D.; Sarah Martin, M.D.; and
                                                  Micaela Fernandes, R.N.




Dated: March 19, 2020                                /s/ Elizabeth L. Coyne
                                                     ELIZABETH L. COYNE
                                                     Assistant United States Attorney
